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 1                                                                        HONORABLE TANA LIN
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                               UNITED STATES DISTRICT COURT
 8                            WESTERN DISTRICT OF WASHINGTON
                                     SEATTLE DIVISION
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   HOLLY RYDMAN and SERIN NGAI,                   ) Case No. 2:18-CV-01578-TL
10 individually and on behalf of a class of       )
   similarly situated individuals,                )
11                                                ) NOTICE OF WITHDRAWAL OF
                           Plaintiffs,            ) APPEARANCE
12                                                )
            v.                                    )
13                                                )
   CHAMPION PETFOODS USA, INC., a                 )
14 Delaware corporation, and CHAMPION             )
   PETFOODS LP, a Canadian limited                )
15 partnership,                                   )
                                                  )
16                        Defendants.             )
17          PLEASE TAKE NOTICE that, pursuant to LCR 83.2(b)(2), the undersigned hereby
18 notifies the Court and counsel that Trevor S. Locko is no longer with the law firm of Robbins
19 LLP, and is withdrawing his representation on behalf of plaintiffs Holly Rydman and Serin Ngai
20 ("Plaintiffs") in the above-referenced action. Plaintiffs will continue to be represented by Kevin
21 A. Seely of Robbins LLP and remaining counsel of record.
22 Dated: January 13, 2022                           ROBBINS LLP
23                                                   s/ Kevin A. Seely
                                                     Kevin A. Seely, admitted pro hac vice
24                                                   5040 Shoreham Place
                                                     San Diego, CA 92122
25                                                   Telephone: (619) 525-3990
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27                                                   Attorney for Plaintiffs
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     NOTICE OF WITHDRAWAL OF APPEARANCE - 1
